21-30107-hcm Doc#136 Filed 02/20/22 Entered 02/20/22 23:16:52 Imaged Certificate of
                                Notice Pg 1 of 3




   The relief described hereinbelow is SO ORDERED.



   Signed February 18, 2022.

                                                            __________________________________
                                                                   H. CHRISTOPHER MOTT
                                                            UNITED STATES BANKRUPTCY JUDGE
   ________________________________________________________________


                                UNITED STATES BANKRUPTCY
                             COURT WESTERN DISTRICT OF TEXAS
                                     EL PASO DIVISION

   IN RE:

                                                                 Case No:21-30107-HCM
                   PDG PRESTIGE, INC.
                                                                 Chapter 11
                                               ORDER

            BE IT REMEMBERED that there was presented to the Court the motion for Admission

   Pro Hac Vice filed by Fred Kennon “(Applicant”) and the Court, having reviewed the motion,

   has decided it is meritorious. ACCORDINGLY,

            IT IS ORDERED that the Motion for Admission Pro Hac Vice is GRANTED, and

   Applicant may appear on behalf of Doña Ana County Treasurer in the above case.

            This order shall not be considered admission to practice generally before this Court or the

   U.S. District Court for the Western District of Texas.

                                                   ###
                                                         Fred Kennon
                                                         Doña Ana County Attorney’s Office
                                                         845 N. Motel Blvd, Ste. 2-148, Box #17
                                                         Las Cruces, NM 88007
                                                         T: 575-525-5921
                                                         fredk@donaanacounty.org
        21-30107-hcm Doc#136 Filed 02/20/22 Entered 02/20/22 23:16:52 Imaged Certificate of
                                        Notice Pg 2 of 3
                                                              United States Bankruptcy Court
                                                                Western District of Texas
In re:                                                                                                                 Case No. 21-30107-hcm
PDG Prestige, Inc.                                                                                                     Chapter 11
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0542-3                                                  User: admin                                                                 Page 1 of 2
Date Rcvd: Feb 18, 2022                                               Form ID: pdfintp                                                           Total Noticed: 8
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Feb 20, 2022:
Recip ID                   Recipient Name and Address
db                     +   PDG Prestige, Inc., 154 N Festival Dr., Ste. D, El Paso, TX 79912-6265
cr                     +   City Of El Paso, Weston Centre, 112 E. Pecan St, Suite 2200, San Antonio, TX 78205-1588
cr                     +   City bank, c/o Brad Odell, Mullin Hoard & Brown, LLP, P. O. Box 2585, Lubbock, TX 79408-2585
cr                     +   Dennis Crimmins, c/o ScottHulse PC, PO Box 99123, El Paso, TX 79999-9123
cr                     +   Dona Ana County Treasurer, Treasurer's Office, 845 N. Motel Blvd., Suite 2-148, Box #17, Las Cruces, NM 88007-8100
cr                     +   HD Lending, LLC, P.O. Box 1977, El Paso, TX 79999-1977
cr                     +   New Mexico Real Estate Advisors, Inc. d/b/a Collie, c/o Kemp Smith LLP, Attn: James W. Brewer, 221 N. Kansas, Ste,. 1700, El Paso,
                           TX 79901-1401

TOTAL: 7

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                 Notice Type: Email Address                                     Date/Time                 Recipient Name and Address
aty                    + Email/Text: jcarruth@wkpz.com
                                                                                        Feb 18 2022 21:57:00      Jeff Carruth, Weycer, Kaplan, Pulaski & Zuber,
                                                                                                                  P.C., 3030 Matlock Rd. Suite 201, Arlington, TX
                                                                                                                  76015-2936

TOTAL: 1


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Feb 20, 2022                                            Signature:           /s/Joseph Speetjens




                                   CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on February 18, 2022 at the address(es) listed
below:
Name                               Email Address
        21-30107-hcm Doc#136 Filed 02/20/22 Entered 02/20/22 23:16:52 Imaged Certificate of
                                        Notice Pg 3 of 3
District/off: 0542-3                                            User: admin                                                             Page 2 of 2
Date Rcvd: Feb 18, 2022                                         Form ID: pdfintp                                                       Total Noticed: 8
Brad W. Odell
                               on behalf of Creditor City bank bodell@mhba.com memert@mhba.com;mreynolds@mhba.com;bwodellscvtxw@ecf.axosfs.com

Casey Scott Stevenson
                               on behalf of Plaintiff Dennis Crimmins cste@scotthulse.com cmac@scotthulse.com

Casey Scott Stevenson
                               on behalf of Plaintiff Crimmins Family Limited Partnership cste@scotthulse.com cmac@scotthulse.com

Casey Scott Stevenson
                               on behalf of Creditor Dennis Crimmins cste@scotthulse.com cmac@scotthulse.com

Casey Scott Stevenson
                               on behalf of Plaintiff White Sands Construction Inc. cste@scotthulse.com, cmac@scotthulse.com

Casey Scott Stevenson
                               on behalf of Plaintiff MDDC Investments LLC cste@scotthulse.com, cmac@scotthulse.com

Clyde A. Pine, Jr.
                               on behalf of Creditor HD Lending LLC pine@mgmsg.com, clyde.pine@gmail.com

David W. Parham
                               on behalf of Creditor City Bay Capital LLC david.parham@akerman.com
                               esther.mckean@akerman.com;david.clark@akerman.com;kristen.mcdanald@akerman.com;rick.boepple@akerman.com;teresa.bar
                               rera@akerman.com

Donald P. Stecker
                               on behalf of Creditor City Of El Paso don.stecker@lgbs.com

Fred Kennon
                               on behalf of Creditor Dona Ana County Treasurer fredk@donaanacounty.org

Harrel L. Davis, III
                               on behalf of Creditor Suresh Kumar hdavis@eplawyers.com vrust@eplawyers.com;vpena@eplawyers.com

James Michael Feuille
                               on behalf of Plaintiff Crimmins Family Limited Partnership jfeu@scotthulse.com tmar@scotthulse.com

James Michael Feuille
                               on behalf of Plaintiff White Sands Construction Inc. jfeu@scotthulse.com, tmar@scotthulse.com

James Michael Feuille
                               on behalf of Plaintiff Dennis Crimmins jfeu@scotthulse.com tmar@scotthulse.com

James Michael Feuille
                               on behalf of Creditor Dennis Crimmins jfeu@scotthulse.com tmar@scotthulse.com

James Michael Feuille
                               on behalf of Plaintiff MDDC Investments LLC jfeu@scotthulse.com, tmar@scotthulse.com

James W Rose, Jr
                               on behalf of U.S. Trustee United States Trustee - EP12 james.rose@usdoj.gov
                               carey.a.tompkins@usdoj.gov;Roxana.peterson@usdoj.gov;aubrey.thomas@usdoj.gov;omar.e.jones@usdoj.gov

James W. Brewer
                               on behalf of Creditor New Mexico Real Estate Advisors Inc. d/b/a Colliers International jbrewer@kempsmith.com,
                               tschoemer@kempsmith.com

Jeff Carruth
                               on behalf of Debtor PDG Prestige Inc. jcarruth@wkpz.com, jcarruth@aol.com;ATTY_CARRUTH@trustesolutions.com

Michael R. Nevarez
                               on behalf of Interested Party Westar Investors Group LLC MNevarez@LawOfficesMRN.com, MRN4Bankruptcy@gmail.com

Steven B. Bass
                               on behalf of Creditor United States of America Internal Revenue Service Steven.Bass@usdoj.gov tina.travieso@usdoj.gov

United States Trustee - EP12
                               USTPRegion07.SN.ECF@usdoj.gov


TOTAL: 22
